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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 LAREDO DIVISION

JOSE M. HOLGUIN                                  §                         CIVIL ACTION NO.
                                                 §
               Plaintiff,                        §
                                                 §
vs.                                              §                          5:16-cv-350
                                                                           __________________
                                                 §
STATE FARM LLOYDS                                §
AND RICARDO ALVARADO                             §
                                                 §
               Defendants                        §                         JURY REQUESTED

                    STATE FARM LLOYDS’ NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       State Farm Lloyds (“State Farm”) files this Notice of Removal pursuant to 28 U.S.C. §§

1332, 1441, and 1446, and respectfully shows the following:

                                    Procedural Background

       1.      On October 5, 2016, Jose M. Holguin (“Plaintiff”) filed his Original Petition

(“Complaint”) and initiated an action styled Cause No. 2016CVF002577-D3; Jose M. Holguin v.

State Farm Lloyds and Ricardo Alvarado in the 341st Judicial District Court of Webb County,

Texas (“the State Court Action”). A copy of the Complaint is included with the Index of State

Court Papers attached as Exhibit A hereto, incorporated herein, and made a part hereof for all

purposes.

       2.      This Notice of Removal is filed by State Farm Lloyds within thirty (30) days after

the date on which State Farm Lloyds was served with Plaintiffs Original Petition and citation. It

is therefore timely under 28 U.S.C. § 1446(b).
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                                         Nature of the Suit

       3.      This lawsuit involves a dispute over the processing and payment of insurance

benefits on a claim made by Plaintiff on his homeowner's policy issued by State Farm Lloyds for

damage allegedly caused by a storm that occurred on or about April 27, 2015. Plaintiff alleges

that State Farm breached the insurance agreement, breached the common-law duty of good faith

and fair dealing, violated provisions of the Texas Insurance Code, and did such knowingly.

       4.      State Farm now removes this case, showing that this Court has original jurisdiction

over the matters made the basis of this lawsuit pursuant to 28 U.S.C. § 1332 in that (1) the Plaintiff

is a Texas citizen; (2) the Plaintiff is completely diverse from State Farm, and; (3) the requisite

amount in controversy has been satisfied.

                                         Basis for Removal

A.     Diversity of Citizenship

       5.      Plaintiff was, at the time this action commenced, and is still a citizen of the State

of Texas.

       6.      At the time of filing of the lawsuit in state court and at the time of filing of this

Notice of Removal, State Farm was and is an unincorporated insurance association whose

underwriters were and are all citizens of states other than Texas. Accordingly, State Farm is not a

citizen of the State of Texas for purposes of federal diversity jurisdiction. See, e.g., Garza v.

State Farm Lloyds, 2013 WL 3439851 at *2 (S.D. Tex. July 8, 2013) (“Therefore, the Court

finds that State Farm has sufficiently demonstrated by a preponderance of the evidence that its

underwriters are not citizens of Texas. This means State Farm and the Plaintiff are completely

diverse.”); Cronin v. State Farm Lloyds, 2008 WL 4649653 at *2 (S.D. Tex. October 10, 2008)

(citizenship of State Farm Lloyds diverse from that of Texas plaintiffs); Alonzo v. State Farm




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Lloyds, 2006 WL 1677767, at *1 (W.D. Tex. June 12, 2006) (same); Caballero v. State Farm

Lloyds, 2003 WL 23109217, at *1 (S.D. Tex. October 31, 2003) (same); Rappaport v. State Farm

Lloyds, 1998 WL 249211, at *2 (N.D. Tex. May 8, 1998) (same).

        7.      Defendant Ricardo Alvarado has not been served, but is a citizen and resident of

the state of Ohio. Counsel for State Farm contacted Mr. Alvarado and he has consented to this

Removal.

        B.      Amount in Controversy

        8.      Moreover, this Court has diversity jurisdiction over this matter because the amount

in controversy exceeds $75,000.00, exclusive of interest and costs. The Plaintiff’s Original

Petition alleges in paragraph XIII that the Plaintiff is seeking monetary relief, “the maximum of

which is over $100,000.00 but not more than $200,000.00.”

                               The Removal is Procedurally Correct

        9.      Defendant State Farm filed this Notice of Removal within the 30-day time period

required by 28 U.S.C. §1446(b). See Hornbuckle v. State Farm Lloyds, 2003 WL 21955864 (N.D.

Tex); Infax, supra; Delaney v. Viking Freight, Inc., 41 F.Supp.2d 672 (E.D. Tex. 1999).

        10.     Venue is proper in this district under 28 U.S.C. §1446(a), because this district and

division embrace the place in which the removed action has been pending and because a substantial

part of the events giving rise to Plaintiff’s claims allegedly occurred in this district.

        11.     Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings

in the state court action are attached to this Notice as Exhibit A. Attached as Exhibit B hereto is a

List of Parties and Counsel relating to this action; and attached as Exhibit C hereto is an Index of

Matters Being Filed in this action.




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        12.     Pursuant to 28 U.S.C. §1446(d), promptly after Defendant files this Notice, written

notice of the filing will be given to Plaintiff, the adverse party.

        13.     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of Defendant’s Notice of

Removal will be filed with the Clerk of the 341st Judicial District Court, Webb County, Texas,

promptly after Defendant files this Notice.

        WHEREFORE, DEFENDANT requests that this action be removed from the 341st Judicial

District Court, Webb County, Texas, to the United States District Court for the Southern District

of Texas, Laredo Division, and that this Court enter such further orders as may be necessary and

appropriate.

                                                Respectfully submitted,

                                                JONES, ANDREWS & ORTIZ, P.C.


                                                By: /s/ Daniel C. Andrews
                                                        Daniel C. Andrews
                                                        State Bar No. 01240940
                                                10100 Reunion Place, Suite 600
                                                San Antonio, TX 78216
                                                Telephone: (210) 344-3900
                                                Facsimile: (210) 366-4301

                                                COUNSEL FOR DEFENDANT,
                                                STATE FARM LLOYDS




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                              CERTIFICATE OF SERVICE

        On December 7, 2016, the foregoing document was served in compliance with the Federal
Rules of Civil Procedure by mail, hand delivery, telecopier transmission, or CM/ECF electronic
notice to the following:

     Robert A. Pollom
     State Bar No. 24041703
     KETTERMAN ROWLAND & WESTLUND
     16500 San Pedro, Suite 302
     San Antonio, Texas 78232
     Telephone: (210) 490-7402
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     robert@krwlawyers.com
                                By: /s/ Daniel C. Andrews
                                        Daniel C. Andrews




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